I am of the opinion that the Circuit Judge, Hon. E.C. Dennis, reached the proper conclusion in this case. In this connection I desire to state that while I have not had an opportunity to examine all of the authorities cited in the decree of the Circuit Judge, I agree with the principles of law stated by his Honor. In my opinion, the judgment of the Circuit Court should be affirmed. *Page 36 
NOTE: Decree of the Circuit Judge will be incorporated in the report of the case, provided there shall be omitted the verified statement of the account appearing on page 19 of the transcript. and in lieu thereof these words shall be inserted, to wit: Amount of charges to the People's Bank of Darlington, as executor, $8,883.93; total amount of disbursements, $2,573.78.